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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

JOHN DOE                                                         CIVIL ACTION

VERSUS                                                           NO. 19-13425

ADMINISTRATORS OF THE TULANE                                     SECTION “D” (2)
EDUCATIONAL FUND

                                  ORDER ON MOTION

APPEARANCES: None (on the record)

MOTION:              Defendant’s Re-Urged Motion to Compel Discovery, Record Doc.
                     No. 40

O R D E R E D:

 XXX : GRANTED IN PART AND DENIED IN PART. Defendant’s motion is granted
as to the text messages, which have been identified as DOE-000543–000555. While the
individual redactions, standing alone, may be irrelevant and therefore arguably
unresponsive to the request, they are part and parcel of extended text message
conversations that provide context for the unredacted snippets that are clearly relevant and
go to the nature of the relationship between witnesses and plaintiff indicative of their
credibility. The text messages must be produced in their entirety without redactions no later
than December 29, 2019 at 10:00 a.m.
        Defendant’s motion is granted in part and denied in part as to the emails listed in
plaintiff’s privilege log. On one hand, I find from the overall context of the materials
submitted to me for in camera review, including but not limited to the time and scope of
plaintiff’s counsel’s hands-on involvement and plaintiff’s separate text message
communication with a potential witness anticipating this litigation, that the draft witness
statements were prepared by plaintiff’s counsel in anticipation of litigation. See Fed. R.
Civ. P. 26(b)(3)(A); Hickman v. Taylor, 329 U.S. 495, 511–14 (1947); Total E & P USA
Inc. v. Kerr-McGee Oil & Gas Corp., 2014 WL 3385130, at *4 (E.D. La. July 10, 2014).
On the other hand, the emails from plaintiff’s counsel to the witnesses, standing apart from
the attached draft witness statements themselves, are mere transmittals, made for the
principal purpose of transmitting the work product. While some kinds of email
communications between a lawyer and a witness might constitute work-product, these
particular transmittal emails, standing alone, do not reflect “mental impressions,
conclusions, opinions, or legal theories of a party’s attorney or other representative . . . .”
See Fed R. Civ. P. 26(b)(3)(B). Accordingly, defendant’s motion is granted in that the
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transmittal emails must be produced no later than December 29, 2019 at 10:00 a.m. because
they are not work-product, but denied as to the attached draft statements, which are
attorney work-product, are not discoverable and need not be produced.
       The rulings above apply to defendant’s subpoenas duces tecum to the student
witnesses, Record Doc. No. 45-2 at pp. 1–55, and the subpoenas are hereby modified to
exclude any draft statements prepared by plaintiff’s counsel and provided to them.

                                                   18th
                    New Orleans, Louisiana, this _________ day of December, 2019.



                                                JOSEPH C. WILKINSON, JR.
                                           UNITED STATES MAGISTRATE JUDGE




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